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 4
     Attorney for Defendant
 5   YGNACIA BRADFORD
 6

 7
                              IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
                                         SACRAMENTO DIVISION
10

11
     UNITED STATES OF AMERICA,                          )   Case No. CR S 10-CR-0223 JAM
12                                                      )
                                 Plaintiff,             )
13                                                      )   STIPULATION AND ORDER
             vs.                                        )   MODIFYING TERMS OF PRETIRAL
14                                                      )   RELEASE TO REMOVE
                                                        )   DEFENDANT FROM PRETRIAL
15                                                      )   SERVICES SUPERVISION
     YGNACIA BRADFORD, et. al.                          )
16                                                      )
                                 Defendants.            )
17                                                      )
18
            IT IS HEREBY STIPULATED by the parties, the UNITED STATES OF
19
     AMERICA, through undersigned counsel, Phillip A. Ferrari, Assistant U. S. Attorney,
20
     and YGNACIA BRADFORD (“Bradford”) through undersigned counsel, Joseph J.
21   Wiseman, that the conditions of Ms. Bradford’s pretrial release be modified to remove
22   her from pretrial supervision by the Eastern District Pretrial Services.
23                                            BACKGROUND
24             On June 21, 2010, Ms. Bradford was arraigned on charges related to an alleged
25   mortgage fraud scheme and pleaded not guilty.
26          Ms. Bradford was released on $100,000 unsecured bond. She was placed on pre-
27   trial supervision. Since she lives in Oakland, California, the Pretrial Services Office in
28   the Northern District of California supervised her as a courtesy to the local Eastern

     ____________________________________________________________________________________________________
     Stipulation and Proposed Order to                     1                                CR S 10-0223 JAM
     Terminate Pre-Trial Supervision
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 1   District office. Michael R. Evans, Ms. Bradford’s Pretrial Services Officer has advised
 2   that she has been compliant since under supervision.
 3          On December 11, 2012, Ms. Bradford pleaded guilty to one count of violation of
 4   18 U.S.C. § 4, misprision of felony, pursuant to a plea agreement. She was released on
 5   the same conditions of pre-trial release. Her sentencing hearing is now set for October
 6   14, 2014.
 7          It has now been more than four years since Ms. Bradford was placed on pre-
 8   trial supervision and the parties are not aware of any issues with respect to Ms.
 9   Bradford’s compliance during that time. Pretrial Services Officer Evans has indicated to
10   the parties that he has no objection to the Court’s removing Ms. Bradford from pretrial
11   supervision. This is due to the fact that Ms. Bradford has successfully been on
12   supervised release since June 2010; she initially self-surrendered; she has no prior
13   criminal history; and she has appeared for every court appearance as ordered.
14                                            STIPULATION
15          The United States of America, through its counsel, Phillip A. Ferrari and
16   defendant, YGNACIA BRADFORD, through her counsel of record, Joseph J. Wiseman,
17   upon the recommendation of Pretrial Services due to Ms. Bradford’s record of

18   compliance with the conditions of her pretrial release, stipulate that all conditions of

19   Ms. Bradford’s pretrial release and her supervision by Pretrial Services shall be

20   terminated. It is understood by the parties that the unsecured appearance bond

21   previously posted by Rosette Johnson and Michael Bradford shall remain in effect and

22   the United States passport hereto surrendered by Ms. Bradford shall remain in the

23   custody of the Court.

24
     Dated: June 25, 2014                           Respectfully submitted,
25
                                                    WISEMAN LAW GROUP, P.C.
26
                                                    By: __/s/ Joseph J. Wiseman__
27                                                        JOSEPH J. WISEMAN
28
                                                            Attorney for
                                                            YGNACIA BRADFORD
     ____________________________________________________________________________________________________
     Stipulation and Proposed Order to                     2                                CR S 10-0223 JAM
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      Case 2:10-cr-00223-JAM Document 639 Filed 09/29/14 Page 3 of 3


 1   Dated: June 25, 2014                           Benjamin B. Wagner
                                                    United States Attorney
 2

 3                                                  By: /s/ Phillip A. Ferrari
                                                           PHILLIP A. FERRARI
 4                                                         Assistant U.S. Attorney
 5

 6

 7
                                                   ORDER
 8
            UPON GOOD CAUSE SHOWN, and pursuant to the stipulation of the parties, IT
 9
     IS HEREBY ORDERED THAT the conditions of Defendant YGNACIA BRADFORD’s
10
     pretrial release be hereby modified so as to remove her from pretrial supervision
11
     currently conducted through the Pretrial Services Office of the Eastern District of
12
     California. All other conditions of release shall remain in effect.
13

14
     Dated: September 26, 2014
15                                                          /s/ John A. Mendez________
                                                            JOHN A. MENDEZ
16                                                          United States District Court Judge
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     Stipulation and Proposed Order to                     3                                CR S 10-0223 JAM
     Terminate Pre-Trial Supervision
